                  05-44481-rdd     Doc 9692-7        Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit D
      In re Delphi Corporation, et al.                       Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT D - UNTIMELY CLAIMS
             CREDITOR'S NAME AND             CLAIM                   ASSERTED                    DATE               DOCKETED
                   ADDRESS                  NUMBER                 CLAIM AMOUNT                  FILED               DEBTOR


  LEED STEEL COMPANY                         16566              Secured:                        03/06/2007   DELPHI AUTOMOTIVE
  228 SAWYER AVE                                                 Priority:                                   SYSTEMS LLC (05-44640)
  TONAWANDA, NY 14150                                      Administrative:
                                                              Unsecured:            $1,453.62
                                                                    Total:          $1,453.62

                                   Total:      1                                    $1,453.62




*UNL stands for unliquidated
                                                                      Page 1 of 1
